                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                    )
                                              )
                                Plaintiff,    )
                                              )
                       v.                     )       No. 3:09-CR-64
                                              )
 CORNEL THOMPSON, JR.,                        )       (PHILLIPS/GUYTON)
                                              )
                                Defendant.    )

                 ORDER OF CONTINUED DETENTION PENDING TRIAL

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This matter is before the Court on the Defendant Cornel Thompson’s Motion

 to Reconsider Order of Detention [Doc. 136], filed on November 2, 2009. The Defendant asks the

 court to release him pending the trial of this matter and states that he is willing to abide by any

 conditions or combination of conditions imposed by the Court.

        On July 24, 2009, the undersigned conducted a detention hearing and ordered [Doc. 88] the

 Defendant to be detained pending trial. The Court found probable cause to believe that the

 Defendant had committed an offense for which a maximum term of ten years of imprisonment or

 more was prescribed under the Controlled Substances Act. 18 U.S.C. § 3142(e)(3)(A). The Court

 also found that the Defendant failed to rebut the presumption that no condition or combination of

 conditions will reasonably assure the Defendant’s appearance as required and the safety of the

 community. See 18 U.S.C. § 3142(e)(3). Accordingly, the Court concluded that a serious risk

 existed that the Defendant would not appear and would endanger the safety of another person and

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 the community. Based upon the proffers of counsel and the Pretrial Services Report, which was

 made an exhibit to the hearing, the Court expressly found that detention was required due to the

 following factors from 18 U.S.C. § 3242(g):

                 [The] nature and circumstances of the offense (heroin trafficking),
                 weight of the evidence, history and characteristics of the defendant
                 (no established residence and slight family ties to the area)[,]
                 probation status in Tennessee State Court, with probation violations,
                 (past and present); and nature and seriousness of danger to public if
                 released (recent record of multiple identity thefts). The charged
                 offense is inherently dangerous. The defendant, at the time of arrest,
                 tested positive for illegal drug use. See United States v. Hernandez,
                 2002 WL 1377911 (E.D.TN, Edgar). See also United States v.
                 Williams, 753 F.2d 329, 335 (4th Cir. 1985). The defendant has two
                 prior felony drug convictions, and violent crime convictions. The
                 defendant also has a fugitive history, indicating a strong risk of flight.
                 The defendant has not rebutted the presumption in favor of detention
                 established by the statute.

         In his motion, the Defendant states that he has lived in Knoxville for two years and that he

 was living with his fiancee and minor daughter at the time of his arrest for the instant offense. He

 states that his fiancee is willing to pledge her house as security for his bond. He adds that his

 criminal history is comprised of domestic assault convictions, which are more than seven years old,

 and theft convictions, which are over ten years old and which he committed in order to obtain money

 to buy drugs. The Defendant relates that he is presently on a waiting list for drug treatment at Center

 Pointe. He states that at the time of his arrest, he was in full compliance with the conditions of his

 state probation for a series of recent thefts. He maintains that if he is placed on pretrial release, he

 can return to his job at Ruby Tuesday.

         The Government opposes [Doc. 144] the Defendant’s motion, contending that the Defendant

 has failed to provide any new information that has a material bearing upon the issue of his release.


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 It argues that the assertions made by the Defendant in his motion do not constitute new information

 that was unavailable to the Defendant at the time of the detention hearing. Moreover, it states that

 the Defendant’s fiancee’s willingness to pledge her property as a security for the Defendant’s bond

 is not material to the issue of the Defendant’s dangerousness. It asserts that the Defendant’s status

 of being on a waiting list for drug treatment does not assure his appearance at Court proceedings or

 alleviate the concern about the Defendant’s dangerousness. Accordingly, it contends that the

 Defendant’s motion should be denied.

         The Court may reopen a detention hearing

                 at any time before trial if the judicial officer finds that information
                 exists that was not known to the movant at the time of the hearing
                 and that has a material bearing on the issue whether there are
                 conditions of release that will reasonably assure the appearance of
                 such person as required and the safety of any other person and the
                 community.

 18 U.S.C. § 3142(f)(2). In the present case, the Court finds that the bulk of the information stated

 in the Defendant’s motion to reconsider is not new information that was unknown to the Defendant

 at the time of the July 24 detention hearing. Arguably, the Defendant’s assertions that (1) he was

 in full compliance with the terms and conditions of his state probation at the time of his arrest, (2)

 that he is on a waiting list for drug treatment at Center Pointe, and (3) that his fiancee is now willing

 to pledge her house to secure the Defendant’s bond are matters that were not discussed at the July

 24 hearing. The question of reopening the detention issue turns upon whether this information has

 a material bearing on the Defendant’s appearance and the safety of the community, should the

 Defendant be released on conditions.

         The Court finds the fact that the Defendant is now seeking drug treatment and his fiancee’s

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 willingness to pledge her home to secure the Defendant’s bond do not bear materially upon the

 Defendant’s dangerousness to the community. The Pretrial Services Report, created July 24, 2009,

 states that alternatives to detention such as a referral to drug treatment “have been considered but

 ruled out because they do not address the issues of flight/danger associated with the defendant.” The

 Court continues to agree with this assessment by the pretrial services officer. Additionally, with

 regard to the proposed bond on the Defendant’s fiancee’s house, the Court finds that this potential

 condition would only be relevant to the issue of flight, not the issue of the Defendant’s

 dangerousness. Moreover, the Defendant was living with his fiancee at the time of his arrest on July

 22, 2009. Despite this living arrangement, the Pretrial Services Report reveals that the Defendant

 has convictions for theft occurring in March and May 2009 and pending charges for theft and

 unauthorized use of a credit card occurring in May and June 2009. The Court concludes from these

 facts that the Defendant’s fiancee enjoys no control or influence over the Defendant’s commission

 of crimes while he resides with her.

        The Defendant’s assertion that he was in full compliance with the terms and conditions of

 his state probation at the time of his arrest would, at first blush, suggest that he would abide by the

 conditions of release imposed by this Court. On the other hand, the Defendant’s history of four

 instances of probation revocation and status as a fugitive from justice while fleeing to avoid

 prosecution for a probation violation in South Carolina undermines any credit that the Court might

 give the Defendant for compliance with his present state probation. Accordingly, the Court finds

 that the “new” information provided by the Defendant in his motion to reconsider does not have a

 material bearing upon the Court’s finding that he is a danger to the community and a risk of flight.


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 The Defendant has not presented information that would warrant the reopening of his detention

 hearing. See 18 U.S.C. § 3142(f)(2). Moreover, even taking the information provided by the

 Defendant as true, the Court finds that it does not alter the Court’s previous finding that the

 Defendant has failed to rebut the presumption that there are no conditions or combination of

 conditions that would assure his appearance as required and the safety of the community. Thus, the

 Defendant’s Motion to Reconsider Order of Detention [Doc. 136] is DENIED.

        Finally, the Court notes that the Defendant filed a pro se letter [Doc. 153], which was

 docketed on December 7, 2009. First, the Court observes that this letter is not properly before the

 Court because the Defendant is represented by counsel in this case. Generally, pro se filings while

 the party is represented by counsel violate the local rules:

        Whenever a party has appeared by attorney, that party may not thereafter appear or
        act in his or her own behalf in the action or proceeding, unless an order of
        substitution shall first have been made by the court, after notice by the party to the
        attorney and to the opposing party. However, the court may, in its discretion, hear
        a party in open court, notwithstanding the fact that the party is represented by an
        attorney.

 E.D.TN LR83.4(c). The Defendant’s pro se filing, while not docketed as a motion, seeks to notify

 the Court of information the Defendant deems relevant to the issue of his detention. The Defendant

 has been continuously represented by counsel since his entry into this case, and he presents no valid

 or compelling reason for granting him permission to file pro se pleadings while he continues to be

 represented by counsel. Moreover, the Defendant runs the risk of waiving his attorney-client

 privilege and disclosing the details of his defense strategy by such filings. Nevertheless, the Court

 finds that the matters the Defendant seeks to raise in his letter echo those already raised by his

 attorney in the Motion to Reconsider Order of Detention. As such, the Court has considered and

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 rejected those assertions as changing this Court’s determination that the Defendant should be

 detained pending his trial.

        The Defendant continues to be committed to the custody of the Attorney General or his

 designated representative for confinement in a correctional facility separate, to the extent

 practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

 The Defendant shall be afforded a reasonable opportunity for private consultations with defense

 counsel. On order of a court of the United States or on request of an attorney for the Government,

 the person in charge of the corrections facility shall deliver the Defendant to the United States

 Marshal for the purpose of an appearance in connection with a court proceeding.

        IT IS SO ORDERED.

                                                     ENTER:


                                                          s/ H. Bruce Guyton
                                                     United States Magistrate Judge




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